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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

QUANARDEL WELLS,                                     )
                                                     )
                             Plaintiff,              )
                                                     )
                        v.                           )       No. 1:19-cv-03036-JRS-MJD
                                                     )
DANIEL BEDWELL individual & official                 )
capacity,                                            )
LISA BOCK individual & official capacity,            )
JOHN SCHILLING individually & official               )
capacity,                                            )
ARAMARK CORPORATION individual &                     )
official capacity,                                   )
RANDY VANFLEET individual & official                 )
capacity,                                            )
TRAVIS DAVIS individual & official capacity,         )
                                                     )
                             Defendants.             )


      ENTRY SCREENING COMPLAINT, DISMISSING INSUFFICIENT CLAIMS,
                  AND DIRECTING SERVICE OF PROCESS

                                      I. Screening of Complaint

        A.      Legal Standards

        Plaintiff Quanardel Wells is currently an inmate at the Pendleton Correctional Facility.

 Because the plaintiff is a “prisoner” as defined by 28 U.S.C. § 1915A(c), the Court has an

 obligation under 28 U.S.C. § 1915A(a) to screen his complaint before service on the defendants.

 Pursuant to § 1915A(b), the Court must dismiss the complaint if it is frivolous or malicious, fails

 to state a claim for relief, or seeks monetary relief against a defendant who is immune from such

 relief. In determining whether the complaint states a claim, the Court applies the same standard

 as when addressing a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6). See Cesal

 v. Moats, 851 F.3d 714, 720 (7th Cir. 2017). To survive dismissal,
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       [the] complaint must contain sufficient factual matter, accepted as true, to state a
       claim for relief that is plausible on its face. A claim has facial plausibility when
       the plaintiff pleads factual content that allows the court to draw the reasonable
       inference that the defendant is liable for the misconduct alleged.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Pro se complaints such as that filed by the plaintiff

are construed liberally and held to “a less stringent standard than pleadings drafted by lawyers.”

Cesal, 851 F.3d at 720.

       B.      Allegations

       The complaint names six defendants: 1) Daniel Bedwell; 2); Lisa Bock; 3) John Schilling;

4) Aramark Corporation; 5) Randy Van Fleet; and 6) Travis Davis. For relief, the plaintiff seeks

an apology and compensatory and punitive damages.

       The plaintiff alleges that while he was incarcerated at Wabash Valley Correctional Facility

(Wabash Valley) in July 2017, he was wrongfully terminated from his job in the Wabash Valley

kitchen after working seven (7) years as head clerk, program clerk, and teacher. The plaintiff was

terminated because he complained about Mr. Bedwell, the Aramark Food Service Director, using

racial slurs, forcing him to listen to racial country music, throwing objects at his head and crotch,

and slapping him in the crotch. Mr. Bedwell also allegedly made unfounded accusations about the

plaintiff having an affair with another Aramark employee. The plaintiff alleges that he was fired

in retaliation for complaining about having to work in a racially hostile environment.

       The plaintiff alleges that Lisa Bock, Aramark Regional Manager, witnessed the abusive

and racially charged environment and he also asked her for assistance. She refused to take any

action to resolve these issues.

       The plaintiff wrote letters to John Schilling, Director of Contract Compliance, complaining

about the abusive behavior of Mr. Bedwell, but received no response.
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       The plaintiff alleges that when Aramark Corporation hired Mr. Bedwell and Ms. Bock, it

failed to screen employees for racial bias and failed to train them properly. He sent letters to

Aramark complaining of the racial actions against him, but Aramark allowed the hostile, unsafe,

and racially charged atmosphere to continue.

       As to Randy Van Fleet and Travis Davis, internal investigators, the plaintiff alleges that

they refused to investigate his complaints, in violation of his Eighth Amendment rights.

       C.      Analysis

       The plaintiff has no constitutional right to have his complaints investigated by internal

affairs. Accordingly, his claims against Randy Van Fleet and Travis Davis are dismissed for

failure to state a claim upon which relief can be granted.

       The claim against Aramark Corporation is construed as alleging a policy of allowing racial

discrimination in violation of the plaintiff’s constitutional rights. This claim shall proceed.

       The claims against Daniel Bedwell, Lisa Bock, and John Schilling are construed as alleging

violations of the plaintiff’s equal protection and Eighth Amendment rights. The plaintiff also

alleges that his termination by Mr. Bedwell was in retaliation for complaining about unlawful

behavior. These First, Fourteenth, and Eighth Amendment claims shall proceed.

       These are the claims the Court discerns in the complaint. If the plaintiff believes that

additional claims were alleged in the complaint but not identified by the Court, he shall have

through October 17, 2019, in which to identify those claims.

                                      II. Service of Process

       The clerk is directed pursuant to Fed. R. Civ. P. 4(c)(3) to issue process to defendants

Daniel Bedwell, Lisa Bock, John Schilling, and Aramark Corporation in the manner specified by

Rule 4(d). Process shall consist of the complaint filed on July 22, 2019 (docket 2), applicable forms
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(Notice of Lawsuit and Request for Waiver of Service of Summons and Waiver of Service of

Summons), and this Entry.

       The clerk shall terminate from the docket defendants Randy Van Fleet and Travis Davis.

       The clerk is requested to send a courtesy copy of this Entry to attorney Christopher Cody.

       IT IS SO ORDERED.




       Date:    9/16/2019




Distribution:

QUANARDEL WELLS
881139
PENDLETON CORRECTIONAL FACILITY
Electronic Service Participant – Court Only

Daniel Bedwell
c/o Aramark Corporation
c/o CT Corporation System
150 West Market Street, Suite 800
Indianapolis, IN 46204

Lisa Bock
c/o Aramark Corporation
c/o CT Corporation System
150 West Market Street, Suite 800
Indianapolis, IN 46204

Aramark Corporation
c/o CT Corporation System
150 West Market Street, Suite 800
Indianapolis, IN 46204
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Electronic service to:
John Schilling (at Indiana Department of Correction, Contract Compliance)

Christopher Douglas Cody
HUME SMITH GEDDES GREEN & SIMMONS
54 Monument Circle, 4th floor
Indianapolis, IN 46204
